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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JANE DOE,

Plaintiff, 20 Civ. $155 (PAE)
“Ve
ORDER
INSTITUTE FOR FAMILY HEALTH; FAMILY HEALTH
CENTER OF HARLEM; DR. YU LIN NGU; DR. JOHN
PFAIL.

Defendants.

 

 

PAUL A. ENGELMAYER, District Judge:
In light of the parties’ settlement in principle, Dkts. 57, 61, the case management

conference scheduled for November 15, 2021 at 4 p.m. is adjourned.

SO ORDERED.

Pink N. Engeley

PAUL A.ENGELMAYER
United States District Judge
Dated: November 15, 2021

New York, New York

 
